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                        ​UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF TEXAS


Demetrius Gresham ,                                §
Plaintiff,                                         §
                                                   §
v.                                                 §
                                                   § ​Civil Action No:5:20-cv-1442
EGV Companies, Inc., and John/Jane Does            §
1-5.                                               §
                                                   §
                                                   §
Defendants.




                                  Plaintiff’s Original Complaint


                                               Parties

1. The Plaintiff is Demetrius Gresham, a natural person, who was present in Texas for all calls

     at issue in this case, residing in Bexar County.

2. EGV Companies, Inc (“EGV”), is a Florida for profit corporation that can be served via

     registered agent ​C T CORPORATION SYSTEM 1200 South Pine Island Road, Plantation,

     FL 33324​.



                                  JURISDICTION AND VENUE

3. Jurisdiction​. This Court has federal-question subject matter jurisdiction over Plaintiff’s

     TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. ​Mims v.

     Arrow Fin. Servs., LLC​, 565 U.S. 368, 372 (2012). This Court has supplemental subject

     matter jurisdiction over Plaintiff’s claims arising under Texas Business and Commerce Code

     305.053, and 17.46 because these claims: arise from the same nucleus of operative fact, i.e.,
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    Defendants’ telemarketing calls to Plaintiff adds little complexity to the case and does not

    seek money damages, so it is unlikely to predominate over the TCPA claims.

4. Personal Jurisdiction​.​ This Court has general and specific jurisdiction over the Defendants because

    they have repeatedly placed calls to Texas residents, derive revenue from Texas residents, sells goods

    and services to Texas residents, including the Plaintiff and committed a tort in Texas by violating the

    TCPA. ​47 US Code §227(e)(9)(g)(4) ​and​ The Texas Business and Commerce Code 305.053; See also

    Tex. Civ. Prac. & Rem. Code § 17.042​ ​(2). ​This Court has specific personal jurisdiction over the

    Defendants because the calls at issue were made by or on behalf of the defendants into this district,

    and the Plaintiff resides in this district.​ 47 US Code §227(e)(9)(g)(4).

5. ​Venue​.​ Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) because a substantial

    part of the events giving rise to the claims—the calls and sale of goods and services directed at Texas

    residents, including the Plaintiff—occurred in this District and because the Plaintiff resides in this

    District and was residing in the Western District of Texas when he received every call from the

    Defendants that are the subject matter of this lawsuit​ T
                                                            ​ his Court has venue over the Defendants


    because the calls at issue were sent by or on behalf of the above named Defendants to the Plaintiff a

    Texas resident. ​This Court has venue over the defendants because the calls at issue were sent

    by or on behalf of the above named defendants to the Plaintiff, a Texas resident.



THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227

6. In 1991, Congress enacted the TCPA in response to a growing number of consumer

    complaints regarding telemarketing.

7. The TCPA makes it unlawful “to make any call (other than a call made for emergency

    purposes or made with the prior express consent of the called party) using an automatic

    telephone dialing system or an artificial or prerecorded voice … to any telephone number
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      assigned to a … cellular telephone service.” 47 U.S.C. § 227(b)(1)(A)(iii).

8. The TCPA makes it unlawful “to initiate any telephone call to any residential telephone line

      using an artificial or prerecorded voice to deliver a message without the prior express consent

      of the called party, unless the call is initiated for emergency purposes, is made solely

      pursuant to the collection of a debt owed to or guaranteed by the United States, or is

      exempted by rule or order” of the Federal Communication Commission (“FCC”). 47 U.S.C.

      § 227(b)(1)(B).

9. The TCPA provides a private cause of action to persons who receive calls in violation of §

      227(b). 47 U.S.C. § 227(b)(3).

10. Separately, the TCPA bans making telemarketing calls without a do-not-call policy available

      upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).​1

11. The TCPA provides a private cause of action to persons who receive calls in violation of §

      227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

12. According to findings of the FCC, the agency vested by Congress with authority to issue

      regulations implementing the TCPA, automated or prerecorded telephone calls are a greater

      nuisance and invasion of privacy than live solicitation calls and can be costly and

      inconvenient.

13. The FCC also recognizes that “wireless customers are charged for incoming calls whether

      they pay in advance or after the minutes are used.” ​In re Rules and Regulations

      Implementing the Tel. Consumer Prot. Act of 1991​, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).

14. The FCC requires “prior express written consent” for all autodialed or prerecorded

      telemarketing robocalls to wireless numbers and residential lines. In particular a

1   ​See​ Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017) (codifying a June 26,
2003 FCC order).
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   consumer’s written consent to receive telemarketing robocalls must be signed and be

   sufficient to show that the consumer: (1) received clear and conspicuous disclosure of the

   consequences of providing the requested consent, ​i.e.,​ that the consumer will receive future

   calls that deliver pre-recorded messages by or on behalf of a specific seller; and (2) having

   received this information, agrees unambiguously to receive such calls at a telephone number

   the consumer designates. In addition, the written agreement must be obtained without

   requiring, directly or indirectly, that the agreement be executed as a condition of purchasing

   any good or service.

15. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,​

   27 FCC Rcd. 1830, 1844 ¶ 33 (2012) (footnote and internal quotation marks omitted). FCC

   regulations “generally establish that the party on whose behalf a solicitation is made bears

   ultimate responsibility for any violations.” ​In the Matter of Rules and Regulations

   Implementing the Tel. Consumer Prot. Act of 1991​, 10 FCC Rcd. 12391, 12397 ¶ 13 (1995).

16. The FCC confirmed this principle in 2013, when it explained that “a seller … may be held

   vicariously liable under federal common law principles of agency for violations of either

   section 227(b) or section 227(c) that are committed by third-party telemarketers.” ​In the

   Matter of the Joint Petition Filed by Dish Network, LLC,​ 28 FCC Rcd. 6574, 6574 ¶ 1

   (2013).

17. Under the TCPA, a text message is a call. ​Satterfield v. Simon & Schuster, Inc.​, 569 F.3d

   946, 951 – 52 (9th Cir. 2009).

18. A corporate officer involved in the telemarketing at issue may be personally liable under the

   TCPA. ​E.g.​, ​Jackson Five Star Catering, Inc. v. Beason​, Case No. 10-10010, 2013 U.S. Dist.

   LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any courts have held that corporate
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   actors can be individually liable for violating the TCPA where they had direct, personal

   participation in or personally authorized the conduct found to have violated the statute.”

   (internal quotation marks omitted)); ​Maryland v. Universal Elections,​ 787 F. Supp. 2d 408,

   415 – 16 (D. Md. 2011) (“If an individual acting on behalf of a corporation could avoid

   individual liability, the TCPA would lose much of its force.”).

               The Texas Business and Commerce Code 305.053 and 304.151

19. The Texas Business and Commerce code has an analogous portion that is related to the

   TCPA and was violated in this case.

20. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

   subchapter A and seek $500 in statutory damages or $1500 for willful or knowing damages.

                                 FACTUAL ALLEGATIONS

21. The Defendant EGV sales car warranty protection plans and is a registered for profit

   corporation in the State of Florida.

                                   EGV calls to the Plaintiff

22. EGV solicits business by way of national telemarketing campaigns offering vehicle warranty

   protection plans.

23. Plaintiff received multiple calls from a misleading caller ID’s number designed to trick

   consumers into picking up the phone by using the same area code number as the consumer.

   This deceptive tactic leads the consumer into believing a hometown friend, family member or

   important concern is calling when in fact the Defendant EVG is in another geographic

   location entirely with no physical presence in the area presented by the caller ID. These calls

   were placed on behalf of Defendants. Below are some of the calls placed, but is not an

   exhaustive list.
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      CID            Date      Calls to ​210-268-5543
 210-268-5944     11/27/2019
 210-268-1280      01/8/2020
 210-899-0183     07/17/2020
 261-872-4152     10/28/2020
 920-289-9502      10/7/2020



24. The calls to Plaintiff were for the purpose of selling a car warranty agreement.

25. The 210 area code used by Defendants to solicit Plaintiff is a southeast Texas area code.

   Defendants reside in the State of Florida.

26. The Defendants were soliciting Plaintiff to purchase a car warranty agreement without the

   Defendants maintaining an internal, written do-not-call policy.

27. Defendants knew full well that their employees were making calls without maintaining an

   internal, written do-not-call policy and making calls from misleading caller ID numbers.

28. Mr. Gresham has limited data storage capacity on his cellular telephone. Incoming calls from

   EGV and its employees consumed part of this capacity. Plaintiff’s privacy was invaded.

29. The calls were unwanted by the Plaintiff.

30. No emergency necessitated any of the calls at issue.

31. Each call was sent by an Automated Telephone Dialing System (ATDS).

            EGV Knowing and Willful Violations of Telemarketing Regulations

32. Annoyed by the frequency of the calls from Defendants, on or about November 3, 2020 Mr.

   Gresham asked for an internal do-not-call policy and the Defendants indicated they did not

   have a written internal do-not-call policy to send him.

33. Defendants knowingly violated the TCPA by initiating ATDS calls to the Plaintiff.

34. Defendants never sent Mr. Gresham a do-not-call policy.

35. On information and belief, Defendants did not have a written do-not-call policy while it was
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   contacting Plaintiff with unsolicited calls.

36. On information and belief, Defendants did not train its agents engaged in telemarketing on

   the existence and use of any do-not-call list.

37. Defendants knowingly used misleading caller ID information while making calls to Plaintiff.

                      EGV Illegal Telemarketing Practices

38. At all times relevant to the claims alleged herein, Defendants were aware its employees were

   sending ATDS calls en masse to people, including Plaintiff and had received numerous

   complaints through the Better Business Bureau.

   https://www.bbb.org/us/mo/chesterfield/profile/auto-warranty-services/egv-companies-inc-0

   734-310617783/complaints

39. Defendants had the power to stop these spam campaigns.

40. Defendants had the power to fire the managers and employees taking part in the day-to-day

   operations of these telemarketing operations. Despite complaints about these practices,

   Defendants continued to use the services of the exact same telemarketers and/or employees.

41. Defendants allowed the calls to continue and the responsible managers to keep their

   jobs—despite their knowledge of the do-not-call complaints from recipients of these calls.

                       The Plaintiff’s cell phone is a residential number

42. The calls at issue here were to the Plaintiff’s cellular phone 210-268-5543, which is the

   Plaintiff’s personal cell phone that he uses for personal, family, and household use. The

   Plaintiff also uses his cell phone for navigation purposes, sending and receiving emails,

   timing food when cooking, and sending and receiving text messages. The Plaintiff further has

   his cell phone registered in his personal name, pays the cell phone from his personal

   accounts.
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                Violations of the Texas Business and Commerce Code 305.053

43. The actions of the defendants violated the Texas Business and Commerce Code 305.053 by

   placing ATDS calls to a cell phone which violates 47 USC 227(b).

44. The calls by the defendants violated Texas law by displaying misleading caller ID

   information per 47 USC 227(e) which in turn violates the Texas statute.


                                 I. FIRST CLAIM FOR RELIEF

     (Non-Emergency Robocalls calls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                    (Against All Defendants)

       1.       Mr. Gresham realleges and incorporates by reference each and every allegation

set forth in the preceding paragraphs.

       2.       The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making non-emergency

robocalls calls to Mr. Gresham’s cellular telephone using ATDS and pre-recorded messages

without his prior express written consent.

       3.       Mr. Gresham is entitled to an award of at least $500 in damages for each such

violation. 47 U.S.C. § 227(b)(3)(B).

       4.       Mr. Gresham is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. 47 U.S.C. § 227(b)(3).

       5.       Mr. Gresham also seeks a permanent injunction prohibiting Defendants and their

affiliates and agents from making non-emergency ATDS and pre-recorded message calls to

cellular telephone numbers without the prior express written consent of the called party.
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                                   II. SECOND CLAIM FOR RELIEF

               (Telemarketing Without Mandated Safeguards, 47 C.F.R. § 64.1200(d))

                                  (Against all Defendants)

          6.       Mr. Gresham realleges and incorporates by reference each and every allegation

set forth in the preceding paragraphs.

          7.       The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of FCC regulations by making telemarketing solicitations despite

lacking:

                  a.      a written policy, available upon demand, for maintaining a do-not-call list,

in violation of 47 C.F.R. § 64.1200(d)(1);​ ​2

                  b.      training for the individuals involved in the telemarketing on the existence

of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);​3

                  c.      failing to identify telephone number or address during the calls at issue in

violation of 47 C.F.R. § 64.1200(d)(4).

          8.       Mr. Gresham is entitled to an award of at least $500 in damages for each such

violation. 47 U.S.C. § 227(c)(5)(B).

          9.       Mr. Gresham is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. 47 U.S.C. § 227(c)(5).

          10.      Mr. Gresham also seeks a permanent injunction prohibiting Defendants and their

affiliates and agents from making telemarketing solicitations until and unless they implement a

do-not-call list and training thereon.


2   ​See​ ​id.​ at 425 (codifying a June 26, 2003 FCC order).
3   ​See​ ​id.​ at 425 (codifying a June 26, 2003 FCC order).
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                                III.THIRD CLAIM FOR RELIEF​:


       Violations of The Texas Business and Commerce Code 305.053


                              (Against all Defendants)

       11.      Mr. Gresham realleges and incorporates by reference each and every allegation

set forth in the preceding paragraphs.

       12.     The foregoing acts and omissions of Defendants and/or their affiliates or agents

constitute multiple violations of the Texas Business and Commerce Code 305.053 by making

non-emergency ATDS calls to Mr. Gresham’s cellular telephone number without his prior

express written consent in violation of 47 USC 227 et seq and using a misleading caller ID

information while doing so. The Defendants violated 47 USC 227(d) and 47 USC 227(d)(3) and

47 USC 227(e) by using an ATDS that does not comply with the technical and procedural

standards under this subsection.

       13.     Mr. Gresham is entitled to an award of at least $500 in damages for each such

violation.​Texas Business and Commerce Code 305.053(b)

       14.     Mr. Gresham is entitled to an award of up to $1,500 in damages for each such

knowing or willful violation. ​Texas Business and Commerce Code 305.053(c).
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       WHEREFORE, Plaintiff Demetrius Gresham prays for judgment against the Defendants

jointly and severally as follows:

       A.      Leave to amend this Complaint to name additional DOESs as they are identified

and to conform to the evidence presented at trial;

       B.      A declaration that actions complained of herein by Defendants violate the TCPA

and Texas state law;

       C.      An injunction enjoining Defendants and their affiliates and agents from engaging

in the unlawful conduct set forth herein;

       D.      An award of $3000.00 per call in statutory damages arising from the TCPA's

intentional violations jointly and severally against the corporation and individual for each and

every call.

       E.      An award of $1,500 in statutory damages per call arising from violations of the

Texas Business and Commerce code 305.053.

       F.      An award to Mr. Gresham of damages, as allowed by law under the TCPA;

       G.      An award to Mr. Gresham of interest, costs and attorneys’ fees, as allowed by law

and equity under Texas Business Code 17.46.

       H.      Such further relief as the Court deems necessary, just, and proper.
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                                             Respectfully submitted:


                                                 /s/ Leland McRae
                                                 _____________________________________
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                              CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of Plaintiff’s Original Complaint was served

on all named Defendant(s), EGV Companies, Inc. who can be served via registered agent ​C T

CORPORATION SYSTEM 1200 South Pine Island Road, Plantation, FL 33324​.




/s/ Leland McRae

_____________________

Leland McRae

Attorney for Plaintiff
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